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                EXHIBIT A
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                                       February 27, 2024

Honorable Anthony Blinken
Secretary of State
2201 C St NW.
Washington, DC 20520

                                                    RE: Global Criminal Conduct by Iraqi
                                                    Kurdistan Regional Government

Dear Mr. Secretary:

       Yesterday you met privately with Kurdistan Regional Government Prime Minister
Masrour Barani. On February 8, 2024, President Joe Biden issued the National Security
Memorandum on Safeguards and Accountability With Respect to Transferred Defense Articles and
Defense Services. We bring to your attention its specific directive:

       “In order to effectively implement certain obligations under United States law, the United
       States must maintain an appropriate understanding of foreign partners’ adherence to
       international law, including, as applicable, international human rights law and
       international humanitarian law. As a matter of international law, the United States looks
       to the law of state responsibility and United States partners’ compliance with
       international humanitarian law in assessing the lawfulness of United States military
       assistance to, and joint operations with, military partners.

       “For these reasons, I am issuing this memorandum, which requires the Secretary of State
       to obtain certain credible and reliable written assurances from foreign governments
       receiving defense articles and, as appropriate, defense services, from the Departments of
       State and Defense, and requires the Secretaries of State and Defense to provide periodic
       congressional reports to enable meaningful oversight. In addition to the requirements of
       this memorandum, the Secretaries of State and Defense are responsible for ensuring that
       all transfers of defense articles and defense services by the Departments of State and
       Defense under any security cooperation or security assistance authorities are conducted in
       a manner consistent with all applicable international and domestic law and policy,
       including international humanitarian law and international human rights law, the
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       applicable “Leahy Law” (22 U.S.C. 2378d, 10 U.S.C. 362), and NSM-18.

Please be aware of a civil lawsuit recently filed in the U.S. District Court of the District of
Columbia, titled Kurdish Victims Fund et.al. v. Kurdistan Regional Government et.al., numbered
as Case No. 1-24-cv-00278. The National Security Memorandum was curiously issued one week
after the filing of the Complaint.

         The Complaint’s extensive claims are alleged against the Kurdistan Regional
Government and its principal officers for global crimes including but not limited to, atrocity
crimes; indiscriminate violence; arson; claims for murder; attempted murder; genocide;
abduction; hostage taking and kidnapping; torture and other cruel, inhuman, or degrading
treatment or punishment; collaboration with terrorist organizations; prolonged arbitrary
detention; extrajudicial killing; enforced disappearance; cruel, inhuman, or degrading treatment;
crimes against humanity; theft; drug trafficking; counterfeiting; defrauding the United States
Government and others; financial crimes; identify theft and access device fraud, mail fraud, wire
fraud; laundering of monetary instruments; engaging in transactions with the proceeds of
specified unlawful activity; acts involving perjury, false statements and declarations;
comprehensive computer data theft and destruction; obstruction of justice; bribery and
facilitation payments; deprivation of income and employment; willful concealment of tax data;
tax fraud and tax perjury; immigration fraud and immigration perjury; and in violation of the
Torture Victim Protection Act of 1991, the Alien Tort Statute of 1789, and other laws and
statutes of the United States and the law of nations and international treaties, agreements, and
conventions more fully set forth therein; and conspiracy to commit all above criminal acts; and
did fraudulently and through material misrepresentations gain control for personal enrichment
over money that was property of the Defendant Iraqi Kurdistan Regional Government.

       Also included are numerous crimes committed against the interests of the United States
of America using U.S.-provided intelligence and materiel, and the murder of a U.S. intelligence
agent.

        Given the size of the Complaint, it is not attached hereto but may be accessed
electronically at the court. We believe you and your staff need to be familiar with its contents.


       Respectfully,

       Tate Bywater



       ______________
       _______________________
       By James R. Tate
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C:     Barbara A. Leaf
       Assistant Secretary for Near East Affairs
       U.S. Department of State
       2201 C St NW.
       Washington, DC 20520

       Office of Inspector General
       1700 North Moore Street (SA-39)
       Arlington, VA 22209
